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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                           Plaintiffs,
           v.
                                                    Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                           Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                           Plaintiffs,
           v.
                                                    Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                           Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                           Plaintiffs,
           v.
                                                    Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                           Defendants.

                                           ERRATA

       Notice is hereby provided that two exhibits to Plaintiffs’ motion for preliminary injunction

(ECF Nos. 34-6, 34-19) contained errors involving their cover sheets. The corrected exhibits are

attached to this notice.


Dated: April 7, 2025                             Respectfully submitted,


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                                                 *Admitted pro hac vice
                                                 **Application for pro hac vice admission
                                                 forthcoming
                                                 *** D.D.C. application pending
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                                                 forthcoming



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**Application for pro hac vice admission
forthcoming
*** D.D.C. application pending
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